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                                                           SN Servicing Corporation           Final
                                                             323 FIFTH STREET
                                                            EUREKA, CA 95501
                                                         For Inquiries: (800) 603-0836
                                             Main Office- NMLS ID #5985, Branch Office- NMLS ID #9785
     Analysis Date: August 13, 2020

     MINNIE WALKER                                                                                                      Loan:
     RAYMOND WALKER
     1917 NEYER AVE                                                                          Property Address:
     CINCINNATI OH 45225                                                                     1917 NEYER AVENUE
                                                                                             CINCINNATI, OH 45225



                                                Annual Escrow Account Disclosure Statement
                                                             Account History

     This is a statement of actual activity in your escrow account from Oct 2019 to Sept 2020. Last year's anticipated activity
     (payments to and from your escrow account) is next to the actual activity.

Payment Information                  Current:      Effective Oct 01, 2020:                  Escrow Balance Calculation
 Principal & Interest Pmt:                 250.56                  250.56                   Due Date:                                         Jul 01, 2020
 Escrow Payment:                           336.56                  281.28                   Escrow Balance:                                     (1,873.23)
 Other Funds Payment:                         0.00                    0.00                  Anticipated Pmts to Escrow:                          1,009.68
 Assistance Payment (-):                      0.00                    0.00                  Anticipated Pmts from Escrow (-):                         0.00
 Reserve Acct Payment:                        0.00                    0.00                  Anticipated Escrow Balance:                         ($863.55)
 Total Payment:                              $587.12                    $531.84



                     Payments to Escrow            Payments From Escrow                                        Escrow Balance
       Date          Anticipated   Actual          Anticipated     Actual             Description              Required       Actual
                                                                                 Starting Balance           814.58              (1,841.92)
     Oct 2019            271.52        651.61                               *                             1,086.10              (1,190.31)
     Nov 2019            271.52        336.56                               *                             1,357.62                (853.75)
     Dec 2019            271.52        336.56                               *                             1,629.14                (517.19)
     Jan 2020            271.52        336.56           550.54       550.11 *    County Tax               1,350.12                (730.74)
     Feb 2020            271.52        336.56                               *                             1,621.64                (394.18)
     Mar 2020            271.52        336.56                               *                             1,893.16                 (57.62)
     Apr 2020            271.52        336.56                               *                             2,164.68                 278.94
     May 2020            271.52        336.56                               *                             2,436.20                 615.50
     Jun 2020            271.52                         539.72       539.29 *    County Tax               2,168.00                  76.21
     Jul 2020            271.52        336.56                               *                             2,439.52                 412.77
     Jul 2020                                                      2,286.00 *    Homeowners Policy        2,439.52              (1,873.23)
     Aug 2020            271.52                      2,168.00               *    Homeowners Policy          543.04              (1,873.23)
     Sep 2020            271.52                                             *                               814.56              (1,873.23)
                                                                                 Anticipated Transactions   814.56              (1,873.23)
     Aug 2020                     673.12                                                                                        (1,200.11)
     Sep 2020                     336.56                                                                                          (863.55)
                     $3,258.24 $4,353.77           $3,258.26      $3,375.40

     An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
     our toll-free number.


     Last year, we anticipated that payments from your account would be made during this period equaling 3,258.26. Under
     Federal law, your lowest monthly balance should not have exceeded 543.04 or 1/6 of the anticipated payment from the
     account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are

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silent on this1:16-bk-11998
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                                                                     Corporation                Final Desc Main
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                                                     For Inquiries: (800) 603-0836
                                                                                  7
                                        Main Office- NMLS ID #5985, Branch Office- NMLS ID #9785
 Analysis Date: August 13, 2020

 MINNIE WALKER                                                                                                   Loan:

                                           Annual Escrow Account Disclosure Statement
                                                  Projections for Coming Year

This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
from your account.


   Date              Anticipated Payments                                                                  Escrow Balance
                     To Escrow From Escrow               Description                                 Anticipated      Required
                                                         Starting Balance                               (863.55)        843.89
Oct 2020               281.28                                                                           (582.27)      1,125.17
Nov 2020               281.28                                                                           (300.99)      1,406.45
Dec 2020               281.28                                                                            (19.71)      1,687.73
Jan 2021               281.28           550.11           County Tax                                     (288.54)      1,418.90
Feb 2021               281.28                                                                             (7.26)      1,700.18
Mar 2021               281.28                                                                            274.02       1,981.46
Apr 2021               281.28                                                                            555.30       2,262.74
May 2021               281.28                                                                            836.58       2,544.02
Jun 2021               281.28           539.29           County Tax                                      578.57       2,286.01
Jul 2021               281.28                                                                            859.85       2,567.29
Aug 2021               281.28        2,286.00            Homeowners Policy                            (1,144.87)        562.57
Sep 2021               281.28                                                                           (863.59)        843.85
                    $3,375.36       $3,375.40

(Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
Your escrow balance contains a cushion of 562.57. A cushion is an additional amount of funds held in your escrow
balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
Federal law, your lowest monthly balance should not exceed 562.57 or 1/6 of the anticipated payment from the account,
unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
this issue.

Your ending balance from the last month of the account history (escrow balance anticipated) is (863.55). Your starting
balance (escrow balance required) according to this analysis should be $843.89. This means you have a shortage of 1,707.44.
This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to do nothing.

 We anticipate the total of your coming year bills to be 3,375.40. We divide that amount by the number of payments expected during
 the coming year to obtain your escrow payment.




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    New Escrow Payment Calculation                 Document     Page 6 of 7
    Unadjusted Escrow Payment                      281.28
    Surplus Amount:                                  0.00
    Shortage Amount:                                 0.00
    Rounding Adjustment Amount:                      0.00
    Escrow Payment:                               $281.28




   NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
   premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
   the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
   payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
   Street, Eureka, Ca 95501 or 800-603-0836.

* Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
or return in the self-addressed envelope.




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                        UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF OHIO
                               CINCINNATI DIVISION

 In Re:                                        Case No. 16-11998

 Raymond Walker                                Chapter 13

 Debtor.                                       Judge Beth A. Buchanan

                              CERTIFICATE OF SERVICE

I certify that a copy of the foregoing Notice of Mortgage Payment Change was served
electronically on August 13, 2020 through the Court’s ECF System on all ECF participants
registered in this case at the e-mail address registered with the Court

And by ordinary U.S. Mail on August 13, 2020 addressed to:

          Raymond Walker, Debtor
          1917 Neyer Ave.
          Cincinnati, OH 45225

                                               Respectfully Submitted,

                                               /s/ Molly Slutsky Simons
                                               Molly Slutsky Simons (0083702)
                                               Sottile & Barile, Attorneys at Law
                                               394 Wards Corner Road, Suite 180
                                               Loveland, OH 45140
                                               Phone: 513.444.4100
                                               Email: bankruptcy@sottileandbarile.com
                                               Attorney for Creditor
